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16                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
17                                SAN FRANCISCO DIVISION
18
     Paul Tremblay, an individual and                                     Case No.
19   Mona Awad, an individual,
                                                                          Complaint
20                            Individual and Representative Plaintiffs,
21                                                                        Class Action
             v.
22                                                                        Demand for Jury Trial
     OpenAI, Inc., a Delaware nonprofit corporation; OpenAI,
23   L.P., a Delaware limited partnership; OpenAI OpCo, L.L.C., a
     Delaware limited liability corporation; OpenAI GP, L.L.C., a
24
     Delaware limited liability company; OpenAI Startup Fund
25   GP I, L.L.C., a Delaware limited liability company; OpenAI
     Startup Fund I, L.P., a Delaware limited partnership; and
26   OpenAI Startup Fund Management, LLC, a Delaware
     limited liability company,
27

28                                                          Defendants.



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 1           Plaintiffs Paul Tremblay and Mona Awad (“Plaintiffs”), on behalf of themselves and all others

 2   similarly situated, bring this Class Action Complaint (the “Complaint”) against Defendants OpenAI,

 3   Inc., OpenAI, L.P., OpenAI OpCo, L.L.C., OpenAI GP, L.L.C., OpenAI Startup Fund I, L.P., OpenAI

 4   Startup Fund GP I, L.L.C. and OpenAI Startup Fund Management, LLC for direct copyright

 5   infringement, vicarious copyright infringement, violations of section 1202(b) of the Digital Millenium

 6   Copyright Act, unjust enrichment, violations of the California and common law unfair competition

 7   laws, and negligence. Plaintiffs seek to recover injunctive relief and damages as a result and

 8   consequence of Defendants’ unlawful conduct.

 9                                               I.      OVERVIEW

10           1.       ChatGPT is a software product created, maintained, and sold by OpenAI.

11           2.       ChatGPT is powered by two AI software programs called GPT-3.5 and GPT-4, also

12   known as large language models. Rather than being programmed in the traditional way, a large language

13   model is “trained” by copying massive amounts of text and extracting expressive information from it.

14   This body of text is called the training dataset. Once a large language model has copied and ingested the

15   text in its training dataset, it is able to emit convincingly naturalistic text outputs in response to user

16   prompts.

17           3.       A large language model’s output is therefore entirely and uniquely reliant on the

18   material in its training dataset. Every time it assembles a text output, the model relies on the

19   information it extracted from its training dataset.

20           4.       Plaintiﬀs and Class members are authors of books. Plaintiﬀs and Class members have

21   registered copyrights in the books they published. Plaintiﬀs and Class members did not consent to the

22   use of their copyrighted books as training material for ChatGPT. Nonetheless, their copyrighted

23   materials were ingested and used to train ChatGPT.

24           5.       Indeed, when ChatGPT is prompted, ChatGPT generates summaries of Plaintiﬀs’

25   copyrighted works—something only possible if ChatGPT was trained on Plaintiﬀs’ copyrighted works.

26           6.       Defendants, by and through the use of ChatGPT, beneﬁt commercial and proﬁt richly

27   from the use of Plaintiﬀs’ and Class members’ copyrighted materials.

28

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 1                                     II.     JURISDICTION AND VENUE

 2            7.       This Court has subject matter jurisdiction under 28 U.S.C. § 1331 because this case

 3   arises under the Copyright Act (17 U.S.C. § 501) and the Digital Millenium Copyright Act (17 U.S.C. §

 4   1202).

 5            8.       Jurisdiction and venue is proper in this judicial district under 28 U.S.C. § 1391(c)(2)

 6   because defendant OpenAI, Inc. is headquartered in this district, and thus a substantial part of the

 7   events giving rise to the claim occurred in this district; and because a substantial part of the events

 8   giving rise to Plaintiﬀs’ claims occurred in this District, and a substantial portion of the aﬀected

 9   interstate trade and commerce was carried out in this District. Each Defendant has transacted business,

10   maintained substantial contacts, and/or committed overt acts in furtherance of the illegal scheme and

11   conspiracy throughout the United States, including in this District. Defendants’ conduct has had the

12   intended and foreseeable eﬀect of causing injury to persons residing in, located in, or doing business

13   throughout the United States, including in this District.

14            9.       Under Civil Local Rule 3.2(c) and (e), assignment of this case to the San Francisco

15   Division is proper because defendant OpenAI, Inc. is headquartered in San Francisco, a substantial

16   amount part of the events giving rise to Plaintiﬀs’ claims and the interstate trade and commerce

17   involved and aﬀected by Defendants’ conduct giving rise to the claims herein occurred in this Division.

18                                                 III.    PARTIES

19   A.       Plaintiffs

20            10.      Plaintiﬀ Paul Tremblay is a writer who lives in Massachusetts. Plaintiﬀ Tremblay owns

21   registered copyrights in several books, including The Cabin at the End of the World. This book contains

22   the copyright-management information customarily included in published books, including the name of

23   the author and the year of publication.

24            11.      Plaintiﬀ Mona Awad is a writer who lives in Massachusetts. Plaintiﬀ Awad owns

25   registered copyrights in several books, including 13 Ways of Looking at a Fat Girl and Bunny. These

26   books contain the copyright-management information customarily included in published books,

27   including the name of the author and the year of publication.

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 1          12.     A nonexhaustive list of registered copyrights owned by Plaintiﬀs is included as

 2   Exhibit A.

 3   B.     Defendants

 4          13.     Defendant OpenAI, Inc. is a Delaware nonproﬁt corporation with its principal place of

 5   business located at 3180 18th St, San Francisco, CA 94110.

 6          14.     Defendant OpenAI, L.P. is a Delaware limited partnership with its principal place of

 7   business located at 3180 18th St, San Francisco, CA 94110. OpenAI, L.P. is a wholly owned subsidiary

 8   of OpenAI Inc. that is operated for proﬁt. OpenAI, Inc. controls OpenAI, L.P. directly and through the

 9   other OpenAI entities.

10          15.     Defendant OpenAI OpCo, L.L.C. is a Delaware limited liability company with its

11   principal place of business located at 3180 18th Street, San Francisco, CA 94110. OpenAI OpCo,

12   L.L.C. is a wholly owned subsidiary of OpenAI, Inc. that is operated for proﬁt. OpenAI, Inc. controls

13   OpenAI OpCo, L.L.C. directly and through the other OpenAI entities.

14          16.     Defendant OpenAI GP, L.L.C. (“OpenAI GP”) is a Delaware limited liability company

15   with its principal place of business located at 3180 18th Street, San Francisco, CA 94110. OpenAI GP is

16   the general partner of OpenAI, L.P. OpenAI GP manages and operates the day-to-day business and

17   aﬀairs of OpenAI, L.P. OpenAI GP was aware of the unlawful conduct alleged herein and exercised

18   control over OpenAI, L.P. throughout the Class Period. OpenAI, Inc. directly controls OpenAI GP.

19          17.     Defendant OpenAI Startup Fund I, L.P. (“OpenAI Startup Fund I”) is a Delaware

20   limited partnership with its principal place of business located at 3180 18th Street, San Francisco, CA

21   94110. OpenAI Startup Fund I was instrumental in the foundation of OpenAI, L.P., including the

22   creation of its business strategy and providing initial funding. OpenAI Startup Fund I was aware of the

23   unlawful conduct alleged herein and exercised control over OpenAI, L.P. throughout the Class Period.

24          18.     Defendant OpenAI Startup Fund GP I, L.L.C. (“OpenAI Startup Fund GP I”) is a

25   Delaware limited liability company with its principal place of business located at 3180 18th Street, San

26   Francisco, CA 94110. OpenAI Startup Fund GP I is the general partner of OpenAI Startup Fund I.

27   OpenAI Startup Fund GP I is a party to the unlawful conduct alleged herein. OpenAI Startup Fund GP

28   I manages and operates the day-to-day business and aﬀairs of OpenAI Startup Fund I.

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 1          19.     Defendant OpenAI Startup Fund Management, LLC (“OpenAI Startup Fund

 2   Management”) is a Delaware limited liability company with its principal place of business located at

 3   3180 18th Street, San Francisco, CA 94110. OpenAI Startup Fund Management is a party to the

 4   unlawful conduct alleged herein. OpenAI Startup Fund Management was aware of the unlawful

 5   conduct alleged herein and exercised control over OpenAI, L.P. throughout the Class Period.

 6                              IV.     AGENTS AND CO-CONSPIRATORS

 7          20.     The unlawful acts alleged against the Defendants in this class action complaint were

 8   authorized, ordered, or performed by the Defendants’ respective oﬃcers, agents, employees,

 9   representatives, or shareholders while actively engaged in the management, direction, or control of the

10   Defendants’ businesses or aﬀairs. The Defendants’ agents operated under the explicit and apparent

11   authority of their principals. Each Defendant, and its subsidiaries, aﬃliates, and agents operated as a

12   single uniﬁed entity.

13          21.     Various persons and/or ﬁrms not named as Defendants may have participated as co-

14   conspirators in the violations alleged herein and may have performed acts and made statements in

15   furtherance thereof. Each acted as the principal, agent, or joint venture of, or for other Defendants with

16   respect to the acts, violations, and common course of conduct alleged herein.

17                                    V.      FACTUAL ALLEGATIONS

18          22.     OpenAI creates and sells artiﬁcial-intelligence software products. Artiﬁcial intelligence is

19   commonly abbreviated “AI.” AI software is designed to algorithmically simulate human reasoning or

20   inference, often using statistical methods.

21          23.     Certain AI products created and sold by OpenAI are known as large language models. A

22   large language model (or “LLM” for short) is AI software designed to parse and emit natural language.

23   Though a large language model is a software program, it is not created the way most software programs

24   are—that is, by human software engineers writing code. Rather, a large language model is “trained” by

25   copying massive amounts of text from various sources and feeding these copies into the model. This

26   corpus of input material is called the training dataset. During training, the large language model copies

27   each piece of text in the training dataset and extracts expressive information from it. The large language

28   model progressively adjusts its output to more closely resemble the sequences of words copied from

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 1   the training dataset. Once the large language model has copied and ingested all this text, it is able to

 2   emit convincing simulations of natural written language as it appears in the training dataset.

 3           24.     Much of the material in OpenAI’s training datasets, however, comes from copyrighted

 4   works—including books written by Plaintiﬀs—that were copied by OpenAI without consent, without

 5   credit, and without compensation.

 6           25.     Authors, including Plaintiﬀs, publish books with certain copyright management

 7   information. This information includes the book’s title, the ISBN number or copyright number, the

 8   author’s name, the copyright holder’s name, and terms and conditions of use. Most commonly, this

 9   information is found on the back of the book’s title page and is customarily included in all books,

10   regardless of genre.

11           26.     OpenAI has released a series of large language models, including GPT-1 (released June

12   2018), GPT-2 (February 2019), GPT-3 (May 2020), GPT-3.5 (March 2022), and most recently GPT-4

13   (March 2023). “GPT” is an abbreviation for “generative pre-trained transformer,” where pre-trained

14   refers to the use of textual material for training, generative refers to the model’s ability to emit text, and

15   transformer refers to the underlying training algorithm. Together, OpenAI’s large language models will

16   be referred to as the “OpenAI Language Models.”

17           27.     Many kinds of material have been used to train large language models. Books, however,

18   have always been a key ingredient in training datasets for large language models because books oﬀer the

19   best examples of high-quality longform writing.

20           28.     For instance, in its June 2018 paper introducing GPT-1 (called “Improving Language

21   Understanding by Generative Pre-Training”), OpenAI revealed that it trained GPT-1 on BookCorpus,

22   a collection of “over 7,000 unique unpublished books from a variety of genres including Adventure,

23   Fantasy, and Romance.” OpenAI conﬁrmed why a dataset of books was so valuable: “Crucially, it

24   contains long stretches of contiguous text, which allows the generative model to learn to condition on

25   long-range information.” Hundreds of large language models have been trained on BookCorpus,

26   including those made by OpenAI, Google, Amazon, and others.

27           29.     BookCorpus, however, is a controversial dataset. It was assembled in 2015 by a team of

28   AI researchers for the purpose of training language models. They copied the books from a website

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 1   called Smashwords.com that hosts unpublished novels that are available to readers at no cost. Those

 2   novels, however, are largely under copyright. They were copied into the BookCorpus dataset without

 3   consent, credit, or compensation to the authors.

 4          30.     OpenAI also copied many books while training GPT-3. In the July 2020 paper

 5   introducing GPT-3 (called “Language Models are Few-Shot Learners”), OpenAI disclosed that 15% of

 6   the enormous GPT-3 training dataset came from “two internet-based books corpora” that OpenAI

 7   simply called “Books1” and “Books2”.

 8          31.     Tellingly, OpenAI has never revealed what books are part of the Books1 and Books2

 9   datasets. Though there are some clues. First, OpenAI admitted these are “internet-based books

10   corpora”. Second, both Books1 and Books2 are apparently much larger than BookCorpus. Based on

11   numbers given in OpenAI’s paper about GPT-3, Books1 is apparently about nine times larger; Books2

12   is about 42 times larger. Since BookCorpus contained about 7,000 titles, this suggests Books1 would

13   contain about 63,000 titles; Books2 would contain about 294,000 titles.

14          32.     But there are only a handful of “internet-based books corpora” that would be able to

15   deliver this much material.

16          33.     As noted in Paragraph 31, supra, the OpenAI Books1 dataset can be estimated to contain

17   about 63,000 titles. Project Gutenberg is an online archive of e-books whose copyright has expired. In

18   September 2020, Project Gutenberg claimed to have “over 60,000” titles. Project Gutenberg has long

19   been popular for training AI systems due to the lack of copyright. In 2018, a team of AI researchers

20   created the “Standardized Project Gutenberg Corpus”, which contained “more than 50,000 books”.

21   On information and belief, the OpenAI Books1 dataset is based on either the Standardized Project

22   Gutenberg Corpus or Project Gutenberg itself, because of the roughly similar sizes of the two datasets.

23          34.     As noted in Paragraph 31, supra, the OpenAI Books2 dataset can be estimated to contain

24   about 294,000 titles. The only “internet-based books corpora” that have ever oﬀered that much

25   material are notorious “shadow library” websites like Library Genesis (aka LibGen), Z-Library (aka B-

26   ok), Sci-Hub, and Bibliotik. The books aggregated by these websites have also been available in bulk via

27   torrent systems. These ﬂagrantly illegal shadow libraries have long been of interest to the AI-training

28   community: for instance, an AI training dataset published in December 2020 by EleutherAI called

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 1   “Books3” includes a recreation of the Bibliotik collection and contains nearly 200,000 books. On

 2   information and belief, the OpenAI Books2 dataset includes books copied from these “shadow

 3   libraries”, because those are the most sources of trainable books most similar in nature and size to

 4   OpenAI’s description of Books2.

 5          35.     In March 2023, OpenAI’s paper introducing GPT-4 contained no information about its

 6   dataset at all: OpenAI claimed that “[g]iven both the competitive landscape and the safety implications

 7   of large-scale models like GPT-4, this report contains no further details about . . . dataset

 8   construction.” Later in the paper, OpenAI concedes it did “ﬁlter[ ] our dataset . . . to speciﬁcally

 9   reduce the quantity of inappropriate erotic text content.”

10   A.     Interrogating the OpenAI Language Models using ChatGPT

11          36.     ChatGPT is a language model created and sold by OpenAI. As its name suggests,

12   ChatGPT is designed to oﬀer a conversational style of interaction with a user. OpenAI oﬀers ChatGPT

13   through a web interface to individual users for $20 per month. Through the web interface, users can

14   choose to use two versions of ChatGPT: one based on the GPT-3.5 model, and one based on the newer

15   GPT-4 model.

16          37.     OpenAI also oﬀers ChatGPT to software developers through an application-

17   programming interface (or “API”). The API allows developers to write programs that exchange data

18   with ChatGPT. Access to ChatGPT via the API is billed on the basis of usage.

19          38.     Regardless of how accessed—either through the web interface or through the API—

20   ChatGPT allows users to enter text prompts, which ChatGPT then attempts to respond to in a natural

21   way, i.e., ChatGPT can generate answers in a coherent and ﬂuent way that closely mimics human

22   language. If a user prompts ChatGPT with a question, ChatGPT will answer. If a user prompts

23   ChatGPT with a command, ChatGPT will obey. If a user prompts ChatGPT to summarize a

24   copyrighted book, it will do so.

25          39.     ChatGPT’s output, like other LLMs, relies on the data upon which it is trained to

26   generate new content. LLMs generate output based on patterns and connections drawn from the

27   training data. For example, if an LLM is prompted to generate a writing in the style of a certain author,

28

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 1   the LLM would generate content based on patterns and connections it learned from analysis of that

 2   author’s work within its training data.

 3          40.     On information and belief, the reason ChatGPT can accurately summarize a certain

 4   copyrighted book is because that book was copied by OpenAI and ingested by the underlying OpenAI

 5   Language Model (either GPT-3.5 or GPT-4) as part of its training data.

 6          41.     When ChatGPT was prompted to summarize books written by each of the Plaintiﬀs, it

 7   generated very accurate summaries. These summaries are attached as Exhibit B. The summaries get

 8   some details wrong. These details are highlighted in the summaries. This is expected, since a large

 9   language model mixes together expressive material derived from many sources. Still, the rest of the

10   summaries are accurate, which means that ChatGPT retains knowledge of particular works in the

11   training dataset and is able to output similar textual content. At no point did ChatGPT reproduce any

12   of the copyright management information Plaintiﬀs included with their published works.

13                                      VI.        CLASS ALLEGATIONS

14   A.     Class Definition

15          42.     Plaintiﬀs bring this action for damages and injunctive relief as a class action under

16   Federal Rules of Civil Procedure 23(a), 23(b)(2), and 23(b)(3), on behalf of the following Class:

17                  All persons or entities domiciled in the United States that own a
                    United States copyright in any work that was used as training data
18                  for the OpenAI Language Models during the Class Period.
19
            43.     This Class deﬁnition excludes:
20
                    a.      any of the Defendants named herein;
21
                    b.      any of the Defendants’ co-conspirators;
22
                    c.      any of Defendants’ parent companies, subsidiaries, and aﬃliates;
23
                    d.      any of Defendants’ oﬃcers, directors, management, employees, subsidiaries,
24
                            aﬃliates, or agents;
25
                    e.      all governmental entities; and
26
                    f.      the judges and chambers staﬀ in this case, as well as any members of their
27
                            immediate families.
28

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 1   B.     Numerosity

 2          44.     Plaintiﬀs do not know the exact number of members in the Class. This information is in

 3   the exclusive control of Defendants. On information and belief, there are at least thousands of members

 4   in the Class geographically dispersed throughout the United States. Therefore, joinder of all members

 5   of the Class in the prosecution of this action is impracticable.

 6   C.     Typicality

 7          45.     Plaintiﬀs’ claims are typical of the claims of other members of the Class because

 8   Plaintiﬀs and all members of the Class were damaged by the same wrongful conduct of Defendants as

 9   alleged herein, and the relief sought herein is common to all members of the Class.

10   D.     Adequacy

11          46.     Plaintiﬀs will fairly and adequately represent the interests of the members of the Class

12   because the Plaintiﬀs have experienced the same harms as the members of the Class and have no

13   conﬂicts with any other members of the Class. Furthermore, Plaintiﬀs have retained sophisticated and

14   competent counsel who are experienced in prosecuting federal and state class actions, as well as other

15   complex litigation.

16   E.     Commonality and Predominance

17          47.     Numerous questions of law or fact common to each Class arise from Defendants’

18   conduct:

19              a. whether Defendants violated the copyrights of Plaintiﬀs and the Class when they

20                 downloaded copies of Plaintiﬀ’s copyrighted books and used them to train ChatGPT;

21              b. whether ChatGPT itself is an infringing derivative work based on Plaintiﬀs’ copyrighted

22                 books;

23              c. whether the text outputs of ChatGPT are infringing derivative works based on Plaintiﬀs’

24                 copyrighted books;

25              d. whether Defendants violated the DMCA by removing copyright-management

26                 information (CMI) from Plaintiﬀs’ copyrighted books.

27              e. Whether Defendants were unjustly enriched by the unlawful conduct alleged herein.

28              f. Whether Defendants’ conduct alleged herein constitutes Unfair Competition under

                                                          9
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 1                      California Business and Professions Code section 17200 et seq.

 2                 g. Whether Defendants’ conduct alleged herein constitutes unfair competition under the

 3                      common law.

 4                 h. Whether this Court should enjoin Defendants from engaging in the unlawful conduct

 5                      alleged herein. And what the scope of that injunction would be.

 6                 i. Whether any aﬃrmative defense excuses Defendants’ conduct.

 7                 j.   Whether any statutes of limitation limits Plaintiﬀs’ and the Class’s potential for recovery.

 8           48.        These and other questions of law and fact are common to the Class predominate over

 9   any questions aﬀecting the members of the Class individually.

10   F.      Other Class Considerations

11           49.        Defendants have acted on grounds generally applicable to the Class. This class action is

12   superior to alternatives, if any, for the fair and eﬃcient adjudication of this controversy. Prosecuting the

13   claims pleaded herein as a class action will eliminate the possibility of repetitive litigation. There will be

14   no material diﬃculty in the management of this action as a class action. Further, ﬁnal injunctive relief is

15   appropriate with respect to the Class as a whole.

16           50.        The prosecution of separate actions by individual Class members would create the risk

17   of inconsistent or varying adjudications, establishing incompatible standards of conduct for

18   Defendants.

19                                           VII.    CLAIMS FOR RELIEF

20
                                                       COUNT I
                                            Direct Copyright Infringement
21
                                                    17 U.S.C. § 106
                                          On Behalf of Plaintiffs and the Class
22

23           51.        Plaintiﬀs incorporate by reference the preceding factual allegations.

24           52.        As the owners of the registered copyrights in books used to train the OpenAI Language

25   Models, Plaintiﬀs hold the exclusive rights to those texts under 17 U.S.C. § 106.

26           53.        Plaintiﬀs never authorized OpenAI to make copies of their books, make derivative

27   works, publicly display copies (or derivative works), or distribute copies (or derivative works). All those

28   rights belong exclusively to Plaintiﬀs under copyright law.

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 1             54.   On information and belief, to train the OpenAI Language Models, OpenAI relied on

 2   harvesting mass quantities of textual material from the public internet, including Plaintiﬀs’ books,

 3   which are available in digital formats.

 4             55.   OpenAI made copies of Plaintiﬀs’ books during the training process of the OpenAI

 5   Language Models without Plaintiﬀs’ permission. Speciﬁcally, OpenAI copied at least Plaintiﬀ

 6   Tremblay’s book The Cabin at the End of the World; and Plaintiﬀ Awad’s books 13 Ways of Looking at a

 7   Fat Girl and Bunny. Together, these books are referred to as the Infringed Works.

 8             56.   Because the OpenAI Language Models cannot function without the expressive

 9   information extracted from Plaintiﬀs’ works (and others) and retained inside them, the OpenAI

10   Language Models are themselves infringing derivative works, made without Plaintiﬀs’ permission and

11   in violation of their exclusive rights under the Copyright Act.

12             57.   Plaintiﬀs have been injured by OpenAI’s acts of direct copyright infringement. Plaintiﬀs

13   are entitled to statutory damages, actual damages, restitution of proﬁts, and other remedies provided

14   by law.

15                                                COUNT 2
                                       Vicarious Copyright Infringement
16                                              17 U.S.C. § 106
                                      On Behalf of Plaintiffs and the Class
17

18             58.   Plaintiﬀs incorporate by reference the preceding factual allegations.

19             59.   Because the output of the OpenAI Language Models is based on expressive information

20   extracted from Plaintiﬀs’ works (and others), every output of the OpenAI Language Models is an

21   infringing derivative work, made without Plaintiﬀs’ permission and in violation of their exclusive rights

22   under the Copyright Act.

23             60.   OpenAI has the right and ability to control the output of the OpenAI Language Models.

24   OpenAI has beneﬁted ﬁnancially from the infringing output of the OpenAI Language Models.

25   Therefore, every output from the OpenAI Language Models constitutes an act of vicarious copyright

26   infringement.

27

28

                                                         11
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 1          61.       Plaintiﬀs have been injured by OpenAI’s acts of vicarious copyright infringement.

 2   Plaintiﬀs are entitled to statutory damages, actual damages, restitution of proﬁts, and other remedies

 3   provided by law.

 4                                            COUNT 3
            Digital Millenium Copyright Act—Removal of Copyright Management Information
 5                                        17 U.S.C. § 1202(b)
                                  On Behalf of Plaintiffs and the Class
 6

 7          62.       Plaintiﬀs incorporate by reference the preceding factual allegations.

 8          63.       Plaintiﬀs included one or more forms of copyright-management information (“CMI”)

 9   in each of the Plaintiﬀs’ Infringed Works, including: copyright notice, title and other identifying

10   information, the name or other identifying information about the owners of each book, terms and

11   conditions of use, and identifying numbers or symbols referring to CMI.

12          64.       Without the authority of Plaintiﬀs and the Class, OpenAI copied the Plaintiﬀs’

13   Infringed Works and used them as training data for the OpenAI Language Models. By design, the

14   training process does not preserve any CMI. Therefore, OpenAI intentionally removed CMI from the

15   Plaintiﬀs’ Infringed Works in violation of 17 U.S.C. § 1202(b)(1).

16          65.       Without the authority of Plaintiﬀs and the Class, Defendants created derivative works

17   based on Plaintiﬀs’ Infringed Works. By distributing these works without their CMI, OpenAI violated

18   17 U.S.C. § 1202(b)(3).

19          66.       OpenAI knew or had reasonable grounds to know that this removal of CMI would

20   facilitate copyright infringement by concealing the fact that every output from the OpenAI Language

21   Models is an infringing derivative work, synthesized entirely from expressive information found in the

22   training data.

23          67.       Plaintiﬀs have been injured by OpenAI’s removal of CMI. Plaintiﬀs are entitled to

24   statutory damages, actual damages, restitution of proﬁts, and other remedies provided by law.

25                                                  COUNT 4
                                                Unfair Competition
26                                    Cal. Bus. & Prof. Code §§ 17200, et seq.
27                                     On Behalf of Plaintiﬀs and the Class

28          68.       Plaintiﬀs incorporate by reference the preceding factual allegations.

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 1          69.     Defendants have engaged in unlawful business practices, including violating Plaintiﬀs’

 2   rights under the DMCA, and using Plaintiﬀs’ Infringed Works to train ChatGPT without Plaintiﬀs’ or

 3   the Class’s authorization.

 4          70.     The unlawful business practices described herein violate California Business and

 5   Professions Code section 17200 et seq. (the “UCL”) because that conduct is otherwise unlawful by

 6   violating the DMCA.

 7          71.     The unlawful business practices described herein violate the UCL because they are

 8   unfair, immoral, unethical, oppressive, unscrupulous or injurious to consumers, because, among other

 9   reasons, Defendants used Plaintiﬀs’ protected works to train ChatGPT for Defendants’ own

10   commercial proﬁt without Plaintiﬀs’ and the Class’s authorization. Defendants further knowingly

11   designed ChatGPT to output portions or summaries of Plaintiﬀs’ copyrighted works without

12   attribution, and they unfairly proﬁt from and take credit for developing a commercial product based on

13   unattributed reproductions of those stolen writing and ideas.

14          72.     The unlawful business practices described herein violate the UCL because consumers

15   are likely to be deceived. Defendants knowingly and secretively trained ChatGPT on unauthorized

16   copies of Plaintiﬀs’ copyright-protected work. Further Defendants deceptively designed ChatGPT to

17   output without any CMI or other credit to Plaintiﬀs and Class members whose Infringed Works

18   comprise ChatGPT’s training dataset. Defendants deceptively marketed their product in a manner that

19   fails to attribute the success of their product to the copyright-protected work on which it is based.

20                                                COUNT 5
21                                                Negligence
                                      On Behalf of Plaintiﬀs and the Class
22

23          73.     Plaintiﬀs incorporate by reference the preceding factual allegations.
24          74.     Defendants owed a duty of care toward Plaintiﬀs and the Class based upon Defendants’
25   relationship to them. This duty is based upon Defendants’ obligations, custom and practice, right to
26   control information in its possession, exercise of control over the information in its possession,
27   authority to control the information in its possession, and the commission of aﬃrmative acts that result
28   in said harms and losses. Additionally, this duty is based on the requirements of California Civil Code

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 1   section 1714, requiring all “persons,” including Defendants, to act in a reasonable manner toward

 2   others.

 3             75.   Defendants breached their duties by negligently, carelessly, and recklessly collecting,

 4   maintaining and controlling Plaintiﬀs’ and Class members’ Infringed Works and engineering,

 5   designing, maintaining and controlling systems—including ChatGPT—which are trained on Plaintiﬀs’

 6   and Class members’ Infringed Works without their authorization.

 7             76.   Defendants owed Plaintiﬀs and Class members a duty of care to maintain Plaintiﬀs’

 8   Infringed Works once collected and ingested for training ChatGPT.

 9             77.   Defendants also owed Plaintiﬀs and Class members a duty of care to not use the

10   Infringed Works in a way that would foreseeably cause Plaintiﬀs and Class members injury, for

11   instance, by using the Infringed Works to train ChatGPT.

12             78.   Defendants breached their duties by, inter alia, using Plaintiﬀs’ Infringed Works to train

13   ChatGPT.

14                                                COUNT 6
15                                           Unjust Enrichment
                                      On Behalf of Plaintiﬀs and the Class
16

17             79.   Plaintiﬀs incorporate by reference the preceding factual allegations.
18             80.   Plaintiﬀs and the Class have invested substantial time and energy in creating the
19   Infringed Works.
20             81.   Defendants have unjustly utilized access to the Infringed Materials to train ChatGPT.
21             82.   Plaintiﬀs did not consent to the unauthorized use of the Infringed Materials to train
22   ChatGPT.
23             83.   By using Plaintiﬀs’ Infringed Works to train ChatGPT, Plaintiﬀs and the Class were
24   deprived of the beneﬁts of their work, including monetary damages.
25             84.   Defendants derived proﬁt and other beneﬁts from the use of the Infringed Materials to
26   train ChatGPT.
27             85.   It would be unjust for Defendants to retain those beneﬁts.
28             86.   The conduct of Defendants is causing and, unless enjoined and restrained by this Court,

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 1   will continue to cause Plaintiﬀs and the Class great and irreparable injury that cannot fully be

 2   compensated or measured in money.

 3                                   VIII. DEMAND FOR JUDGMENT

 4          Wherefore, Plaintiﬀs request that the Court enter judgment on their behalf and on behalf of

 5   the Class deﬁned herein, by ordering:

 6              a) This action may proceed as a class action, with Plaintiﬀs serving as Class

 7                  Representatives, and with Plaintiﬀs’ counsel as Class Counsel.

 8              b) Judgment in favor of Plaintiﬀs and the Class and against Defendants.

 9              c) An award of statutory and other damages under 17 U.S.C. § 504 for violations of the

10                  copyrights of Plaintiﬀs and the Class by Defendants.

11              d) Permanent injunctive relief, including but not limited to changes to ChatGPT to ensure

12                  that all applicable information set forth in 17 U.S.C. § 1203(b)(1) is included when

13                  appropriate.

14              e) An order of costs and allowable attorney’s fees under 17 U.S.C. § 1203(b)(4)–(5).

15              f) An award of statutory damages under 17 U.S.C. § 1203(b)(3) and 17 U.S.C. § 1203(c)(3),

16                  or in the alternative, an award of actual damages and any additional proﬁts under 17

17                  U.S.C. § 1203(c)(2) (including tripling damages under 17 U.S.C. § 1203(c)(4) if

18                  applicable).

19              g) Pre- and post-judgment interest on the damages awarded to Plaintiﬀs and the Class, and

20                  that such interest be awarded at the highest legal rate from and after the date this class

21                  action complaint is ﬁrst served on Defendants.

22              h) Defendants are to be jointly and severally responsible ﬁnancially for the costs and

23                  expenses of a Court approved notice program through post and media designed to give

24                  immediate notiﬁcation to the Class.

25              i) Further relief for Plaintiﬀs and the Class as may be just and proper.

26                                    IX.     JURY TRIAL DEMANDED

27          Under Federal Rule of Civil Procedure 38(b), Plaintiﬀs demand a trial by jury of all the claims

28   asserted in this Complaint so triable.

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     Dated: June 28, 2023                  By:          /s/ Joseph R. Saveri
 2                                                       Joseph R. Saveri

 3

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